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Counsel for Marc S. Kirschner, as Litigation
Trustee of the Highland Litigation Sub-Trust

                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
    In re:
                                                            Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                            Case No. 19-34054-sgj11
                  Reorganized Debtor.

    MARC S. KIRSCHNER, AS LITIGATION
    TRUSTEE OF THE LITIGATION SUB-TRUST,

                  Plaintiff,

             v.

    JAMES D. DONDERO; MARK A. OKADA;
    SCOTT ELLINGTON; ISAAC LEVENTON;
    GRANT JAMES SCOTT III; STRAND
    ADVISORS, INC.; NEXPOINT ADVISORS,
    L.P.; HIGHLAND CAPITAL MANAGEMENT
    FUND ADVISORS, L.P.; DUGABOY       Adv. Pro. No. 21-03076-sgj
    INVESTMENT TRUST AND NANCY
    DONDERO, AS TRUSTEE OF DUGABOY
    INVESTMENT TRUST; GET GOOD TRUST
    AND GRANT JAMES SCOTT III, AS
    TRUSTEE OF GET GOOD TRUST; HUNTER
    MOUNTAIN INVESTMENT TRUST; MARK &
    PAMELA OKADA FAMILY TRUST –
    EXEMPT TRUST #1 AND LAWRENCE
    TONOMURA AS TRUSTEE OF MARK &
    PAMELA OKADA FAMILY TRUST –
    EXEMPT TRUST #1; MARK & PAMELA
    OKADA FAMILY TRUST – EXEMPT TRUST

1
   The last four digits of the Reorganized Debtor’s taxpayer identification number are (8357). The Reorganized
Debtor is a Delaware limited partnership. The Reorganized Debtor’s headquarters and service address are 100
Crescent Court, Suite 1850, Dallas, TX 75201.
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 #2 AND LAWRENCE TONOMURA IN HIS
 CAPACITY AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #2; CLO HOLDCO, LTD.;
 CHARITABLE DAF HOLDCO, LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET
 RECOVERY, LTD.,

             Defendants.


                      THE LITIGATION TRUSTEE’S
              MOTION TO STAY THE ADVERSARY PROCEEDING
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           Marc S. Kirschner (the “Trustee” or “Litigation Trustee”), the Litigation Trustee of the

Litigation Sub-Trust established pursuant to the Fifth Amended Plan of Reorganization of

Highland Capital Management, L.P. (as Modified) [Bankr. Dkt. 1808] 2 (as amended, the “Plan”),

through his undersigned counsel, hereby moves the court for entry of an order under section 105

of title 11 of the United States Code (the “Bankruptcy Code”) to stay the above-captioned

adversary proceeding for a period of six months, i.e., through September 30, 2023. In support of

this Motion, the Litigation Trustee respectfully states as follows:

                                      PRELIMINARY STATEMENT 3

           1.       The Litigation Trustee filed the above-captioned action (the “Action”) on October

15, 2021. As contemplated by the confirmed Plan, the Action is extensive, asserting claims against

a wide array of individuals and entities associated with James Dondero, the founder and longtime

dominant operator of Highland Capital Management, L.P. (“HCMLP”) and scores of affiliated

entities. All told, the Complaint asserts 36 causes of action against 23 Defendants. The claims all

arise from pre-confirmation conduct perpetrated by Dondero and individuals and entities affiliated

with him, which resulted in hundreds of millions of dollars in damages to HCMLP.

           2.       Simultaneous with the prosecution of this Action, the reorganized HCMLP has

continued to monetize its assets for the benefit of the Claimant Trust Beneficiaries—again, as

contemplated by the Plan—with proceeds to be distributed through the Highland Claimant Trust.

To date, those efforts have been successful and meaningful distributions have been made to the

Claimant Trust Beneficiaries.




2
    “Bankr. Dkt.” refers to the docket maintained in Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
3
  All capitalized terms used but not defined in this Preliminary Statement have the meanings given to them below or
in the Plan, as applicable.



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       3.      While it remains uncertain whether HCMLP’s Plan will yield sufficient funds to

enable the Claimant Trust to pay all expenses, satisfy all indemnification obligations, and pay

holders of Class 8 and Class 9 claims in full, Dondero and his affiliates have argued in this and

other courts that that the value of the Claimant Trust’s assets exceeds the amount needed to pay

Claimant Trust Beneficiaries in full such that the Action is a wasteful and unnecessary exercise.

For example, in their Valuation Motions—filed ostensibly to obtain information on the value of

the Claimant Trust’s assets—The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain

Investment Trust (“HMIT”) argue that “the combination of cash and other assets held by the

Claimant Trust in its own name and held in various funds, reserve accounts, and subsidiaries, if

not depleted by unnecessary litigation would be sufficient to pay all Claimant Trust Beneficiaries

in full, with interest, now.” Bankr. Dkt. 3662 at 6-7. Building on their contention that the value

of the Claimant Trust’s assets exceeds the value of the claims, Dugaboy and HMIT assert that the

Action is being prosecuted at their expense because, as the residual beneficiaries of the Claimant

Trust, they are effectively bearing the cost as any recovery will supposedly go to them. Id.

       4.      While the Litigation Trustee disputes these assertions, he requests—in the interests

of judicial economy—that the Court stay this Action until September 30, 2023, and to continue

the stay thereafter until one party to the Action provides 30 days’ written notice to all other parties

and the Court of their intent to resume the Action (the “Stay Period”). The Stay Period will

preserve Claimant Trust assets and enable further consummation of the confirmed Plan, all of

which is expected to reduce the uncertainty that exists today.

       5.      The relief sought directly addresses the concerns set forth in the Valuation Motions

(and elsewhere) that this Action is an unnecessary waste of assets. Surprisingly, Defendants have




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not agreed to the relief sought herein. Accordingly, the Litigation Trustee is forced to make this

motion for a stay, even though the relief being sought is plainly beneficial to all parties.

                                      RELEVANT BACKGROUND

         A.       THE DEBTOR FILES FOR BANKRUPTCY AND THE LITIGATION SUB-
                  TRUST IS CREATED

         6.       On October 16, 2019 (the “Petition Date”), HCMLP filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Delaware Bankruptcy Court”). On December 4, 2019, the Delaware

Bankruptcy Court entered an order transferring venue of HCMLP’s bankruptcy case to this Court.

         7.       Shortly after the case was transferred, HCMLP’s committee of unsecured creditors

(the “Committee”) informed HCMLP that it intended to seek appointment of a chapter 11 trustee

because it did not believe Dondero could act as an estate fiduciary based on his past conduct. To

avoid a trustee, Dondero and HCMLP entered into a settlement with the Committee which, among

other things, appointed an independent board (the “Independent Board”) to manage the

bankruptcy. 4

         8.       In August 2020, HCMLP, Dondero, the Committee, and HCMLP’s largest creditors

entered into mediation, resulting in settlements with HCMLP’s largest creditors but not a global

settlement with Dondero. Thereafter, HCMLP and the Committee began negotiating a plan of

reorganization that would monetize HCMLP’s assets and distribute the proceeds to creditors.

         9.       On February 22, 2021, this Court entered the Order (i) Confirming the Fifth

Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (ii)

Granting Related Relief [Bankr. Dkt. 1943] (the “Confirmation Order”), which confirmed the Plan




4
    Bankr. Docket No. 339 (approving settlement and appointment of Independent Board).



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Bankr. Dkt. No. 1808. The Plan went effective on August 11, 2021 (the “Effective Date”). Bankr.

Dkt. 2700. Among other things, the Plan created the Litigation Sub-Trust, as a “sub-trust

established within the Claimant Trust or as a wholly-owned subsidiary of the Claimant Trust,” for

the purpose of “investigating, litigating, and settling the Estate Claims” transferred to it by the

Claimant Trust pursuant to the Plan. Bankr. Dkt. 1808 ¶¶ 81, 83. Proceeds from the Litigation

Trust’s pursuit of claims “shall be distributed . . . to the Claimant Trust for distribution to the

Claimant Trust Beneficiaries[.]” Id. at 27.

       B.      THE LITIGATION SUB-TRUST COMMENCES THIS ACTION

       10.     The Litigation Trustee commenced this Action on October 15, 2021.                The

Complaint asserts 36 causes of action against 23 Defendants. The Complaint asserts claims for

the avoidance and recovery of intentional and constructive fraudulent transfers and obligations

under sections 544, 548, and 550 of the Bankruptcy Code, illegal distributions under Delaware

partnership law, breach of fiduciary duty, declaratory judgment that certain entities are liable for

the debts of others by statute or under an alter ego theory, aiding and abetting or knowing

participation in breach of fiduciary duty, civil conspiracy, tortious interference with prospective

business relations, breach of contract, conversion, unjust enrichment, and disallowance or

subordination of claims under sections 502 and 510 of the Bankruptcy Code.

       11.     While the broad scope of the claims ensured that this would be a substantial

litigation, the Defendants in this action have exacerbated the cost by propounding sweeping and

unreasonable discovery of HCMLP and third parties, while simultaneously obstructing the

Litigation Trustee’s discovery of Defendants. As a result, to date, the Litigation Trustee has

reviewed over 700,000 documents and produced 655,432 documents comprising 7,390,270




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pages. 5 Defendants have responded by demanding ever more documents, from more complicated

and difficult to search sources, 6 and have served 45 subpoenas seeking the production of

documents from third parties. 7 Remarkably, Defendants have yet to produce a single document in

response to the Litigation Trustee’s requests. 8

          C.      THE DONDERO PARTIES COMPLAIN ABOUT THE COSTS OF THIS
                  ACTION AND CONTEND IT IS UNNECESSARY

          12.     On June 30, 2022, Dugaboy filed a Motion for Determination of the Value of the

Estate and Assets Held by the Claimant Trust [Bankr. Dkt. 3382] (the “First Valuation Motion”),

seeking a valuation of the Claimant Trust’s assets. This Court denied the First Valuation Motion

as procedurally improper on December 7, 2022. Bankr. Dkt. 3645. Accordingly, on February 6,

2023, Dugaboy and HMIT filed a Motion for Leave to File Proceeding [Bankr. Dkt. 3662] (the

“Second Valuation Motion,” and together with the First Valuation Motion, the “Valuation

Motions”), this time making baseless allegations against HCMLP, the Claimant Trust, and their

fiduciaries and professionals, and seeking leave to file an Adversary Proceeding seeking

information concerning the Claimant Trust.




5
    See Appendix Ex. A - Loigman Decl. ¶ 2.
6
   After the Litigation Trustee agreed to produce over 859 prepetition emails and attachments, Defendants demanded
an even more expansive search into every single non-e-mail system the debtor had used in the past ten years, without
any regard as to whether those sources would duplicate the pre-petition email results. Specifically, Defendants made
over 95 additional requests, spanning from requesting “[a]ll documents from 1/1/2009 through 10/15/2019 maintained
locally on the computers issued to” twenty-two different custodians; “all documents” found within debtor’s entire
executive accounting drive, and full folder contents for any folder in the debtor’s entire shared drive in which “[a]ny
document” hit on certain key words in the title. See Appendix Ex. C (Annex A to Defendants’ March 13, 2023 Letter
to Plaintiff, rows 9, 22, 44).
7
    See Dkts. 194, 233-261, 278-82, 294-96, 305-08, 311-13, 316.
8
   In fact, to date, not a single Defendant has even provided a complete hit report in response to search terms that the
Litigation Trustee sent over four months ago, on December 13, 2022. See Appendix Ex. A - Loigman Decl. ¶ 3.
Counsel to NexPoint and HCMFA provided a partial hit report on March 13, 2023. Id.



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         13.      In the Valuation Motions, Dugaboy and HMIT assert that they have residual

contingent interests in the Claimant Trust because they hold unvested, contingent trust interests. 9

Dugaboy and HMIT further assert that the Claimant Trust has sufficient assets to pay all current

Claimant Trust Beneficiaries in full and that they are thus somehow in the money (notwithstanding

that that is not how the Plan works). Finally, Dugaboy and HMIT assert that protections are

necessary to preserve the Claimant Trust’s assets and that continued prosecution of this Action

“threatens to depress the value of the Claimant Trust” (Id. at ¶ 18) and diminish the value of their

contingent, residual interests.

         14.      This is not the first time the Dondero Parties have complained about the cost of this

Action and contended that it is unnecessary since the value of the Claimant Trust’s assets

supposedly exceed the value of the Claimant Trust Beneficiaries’ interests. 10

         15.      While reserving the Claimant Trusts’ rights to contest the Dondero Parties’

assertions, the Litigation Trustee believes it would be prudent to stay the Action during the Stay

Period to allow assets to be monetized pursuant to the Plan while conserving resources for all

parties and third parties. And, while the Defendants have not consented to this relief, it is

astounding that they would contest it because it directly addresses the concerns set forth in the

Valuation Motions. Accordingly, the Litigation Trustee respectfully requests that this Court stay

proceedings in this Action for six months until September 30, 2023, and to continue the stay

thereafter until one party to the Action provides 30 days’ written notice to all other parties and the

Court of their intent to resume the Action.


9
  Dugaboy and HMIT were members of Class 10 and Class 11 under the Plan, but they will receive no interest or
rights in the Claimant Trust unless and until all senior classes have been paid in full with interest, all disputed claims
have been resolved, and the Claimant Trustee has filed a certificate with this Court. Bankr. Dkt. 1943 ¶ 60b.
10
   See, e.g, Reply Brief of Appellant, The Dugaboy Investment Trust, Case No. 22-10831, Document No. 00516578672
at 9 (5th Cir. Dec. 14, 2022) (“[T]he Kirschner litigation continues to this day to erode the value of the estate, which
most significantly impacts” Dugaboy’s and HMIT’s pecuniary interests).



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                                           ARGUMENT

       16.     Pursuant to section 105(a) of the Bankruptcy Code, the Court “may issue any

order . . . that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

11 U.S.C. § 105(a). Moreover, the Supreme Court has held:

       [T]he power to stay proceedings is incidental to the power inherent in every court
       to control the disposition of the causes on its docket with economy of time and
       effort for itself, for counsel, and for litigants. How this can best be done calls for
       the exercise of judgment, which must weigh competing interests and maintain an
       even balance.

Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936). This Court possesses broad discretion to grant

stays, particularly where doing so is unlikely to cause harm to any other party. See, e.g., Fishman

Jackson PLLC v. Israely, 180 F. Supp. 3d 476, 483 (N.D. Tex. 2016) (“Courts have ‘broad’

discretion to grant stay[s] . . . especially when there is not a ‘fair possibility’ that the stay ‘will

work damage to someone else.’”); In re Ramu Corp., 903 F.2d 312, 318 (5th Cir. 1990) (“The stay

of a pending matter is ordinarily within the trial court’s wide discretion to control the course of

litigation . . . . This authority has been held to provide the court the ‘general discretionary power

to stay proceedings before it in control of its docket and in the interests of justice.’” (internal

citations omitted)).

       17.     While stays should “not be immoderate or of an indefinite duration,” Fishman, 180

F. Supp. 3d at 483, courts routinely grant stays of six months where doing so promotes judicial

efficiency. See, e.g., 14th St. Props., LLC v. S. Fid. Ins. Co., No. CV 22-1593, 2023 WL 416317,

at *1 (E.D. La. Jan. 26, 2023) (granting stay and administratively closing matter for six months

due to state insolvency proceedings); Integrated Claims Sys., LLC v. Old Glory Ins. Co., No. 2:15-

CV-00412-JRG, 2020 WL 1027771, at *1 (E.D. Tex. Mar. 3, 2020) (granting motion to stay for

six months); Cleveland Air Serv., Inc. v. Pratt & Whitney Canada, No. 4:13-CV-161-DMB-DAS,

2016 WL 4179987, at *2 n.3 (N.D. Miss. Aug. 5, 2016) (staying discovery for six months); Maples


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v. Donzinger, No. CIV.A. 13-223, 2014 WL 688965, at *2 (E.D. La. Feb. 21, 2014) (granting a

six month stay). Courts have also granted stays which may only be lifted by the parties after a

determined time. See, e.g., Scarborough v. Integricert, LLC, No. 6-12-CV-00396, 2014 WL

12662272, at *3 (W.D. La. Apr. 4, 2014) (“Lastly, this Court’s intention is not to stay the case for

an indefinite period. To the contrary, the Court will issue a stay for a period of one-hundred and

twenty days, at the end of which, either party may move to lift the stay upon a showing of good

cause. Thus, the stay will not last for an ‘indefinite’ period such as Scarborough fears.”).

       18.     Here, the Action should be stayed in the interests of judicial economy and

efficiency and in the interests of the recipients of the 45 third-party subpoenas served by

Defendants, the Litigation Sub-Trust, the Claimant Trust, and even the Defendants—two of whom

(Dugaboy and HMIT) have actually advocated for the relief requested herein. A grant of the

requested stay will enable HCMLP to focus on executing its Plan without incurring further

expenses on this litigation, which, as explained above, have been exacerbated by Defendants’

litigation tactics. See In re Janes, No. 92-2712-BKC-3P7, 1993 WL 476493, at *4 (Bankr. M.D.

Fla. Nov. 8, 1993) (granting “Defendant's motion to stay adversary proceeding,” and noting that

“one of the goals of the code is maximization of assets available in the estate to pay creditors”).

The result is a conservation of HCMLP and Claimant Trust funds, while maintaining the Litigation

Trustee’s flexibility to pursue the claims in this Action should it be necessary in order to satisfy

the Claimant Trust’s obligations.

       19.     A stay would also promote judicial efficiency because pursuit of this litigation may

prove unnecessary, in which case the Court would be spared the burden of further adjudicating

this Action.




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       20.     Finally, a stay will benefit Defendants, not harm them—as their own repeated

complaints demonstrate. Like the Claimant Trust, Defendants can defer extensive litigation

expenses during the Stay Period, and perhaps permanently, depending on the results of the

monetization of HCMLP’s remaining assets and the satisfaction of indemnification obligations.

Moreover, staying this case addresses the very issue Defendants raise in their Valuation Motions;

namely, purported depletion of Claimant Trust assets through the burden of litigation expenses.

       21.     In sum, the Stay Period—which is neither “immoderate” nor “of an indefinite

duration”—falls within this Court’s broad discretion. Fishman, 180 F. Supp. 3d at 483; see also

McKnight v. Blanchard, 667 F.2d 477, 479 (5th Cir. 1982) (vacating indefinite stay that could last

for seven years or longer where trial court “gave no reason for such a protracted stay”). The

requested stay squarely serves the interests of judicial economy, ensures efficient management of

this adversary proceeding, and is in the best interests of the parties to this Action and the Claimant

Trust Beneficiaries.

                                          CONCLUSION

       22.     For the foregoing reasons, the Trustee respectfully requests that the Court grant an

Order staying all proceedings in the Action through the Stay Period.




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 Dated: March 24, 2023                         Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies, that on Thursday, March 23, 2023, counsel for the

Litigation Trustee corresponded with counsel for Defendants regarding the relief requested in the

foregoing motion. Defendants did not provide a response indicating whether or not they would

agree to the motion, so this Motion is submitted as being OPPOSED.

                                                    /s/ Robert S. Loigman
                                                    Robert S. Loigman




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies, that on this 24th day of March 2023, the undersigned

caused to be served a true and correct copy of the Litigation Trustee’s Motion To Stay The

Adversary Proceeding, by electronically filing it with the Court using the CM/ECF system, which

sent notification to all parties of interest participating in the CM/ECF system.

                                                      /s/ Paige Holden Montgomery
                                                      Paige Holden Montgomery




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